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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


    NATIONAL MEDICAL SERVICES                           Civil Action No. 19-4011(MCA)
    INC.

              Plaintiff,
    v.
                                                        60 DAY ORDER
    CHEMISYS LABORATORY, LLC.                           ADMINISTRATIVELY
                                                        TERMINATING ACTION
                 Defendants.




   It having been reported to the Court that the above-captioned action has been settled,

          IT IS on this 21st day of May, 2019,

          ORDERED that this action and any pending motions are hereby administratively

   terminated; and it is further

          ORDERED that this shall not constitute a dismissal Order under Federal Rule of

   Civil Procedure 41; and it is further

          ORDERED that within 60 days after entry of this Order (or such additional

   period authorized by the Court), the parties shall file all papers necessary to dismiss this

   action under Federal Rule of Civil Procedure 41 or, if settlement cannot be consummated,

   request that the action be reopened; and it is further

          ORDERED that, absent receipt from the parties of dismissal papers or a request

   to reopen the action within the 60-day period, the Court shall dismiss this action, without

   further notice, with prejudice and without costs.

                                                  s/Madeline Cox Arleo
                                                  UNITED STATES DISTRICT JUDGE
